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UNITED STATES DISTRICT COURT
DISTRICT OF NEBRASKA
PDF FILE WITH AUDIO FILE ATTACHMENT

      18-03040
      USA v. Russell
        Defendant(1) Jeremy Wayne Russell
      Release Motion hearing




      Case Type :                    cr
      Case Number :                  18-03040
      Case Title :                   USA v. Russell

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